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                                                                                            2018 Sep-27 PM 03:21
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA )
                          )
v.                        )                          Case No.: 2:17-cr-00267-AKK-TMP
                          )
OLIVER L. ROBINSON, JR.,  )
    Defendant.            )


                          FINAL ORDER OF FORFEITURE

       This matter is before the Court on the Motion for a Final Order of Forfeiture

filed by the United States.

       In the Notice of Forfeiture included in the Information in this case, the United

States sought forfeiture of any property of Defendant OLIVER L. ROBINSON, JR.,
                                                1
pursuant to 18 U.S.C. § 982(a)(2)(A),               constituting or derived from proceeds

traceable to the bribery offenses charged in Counts One and Two of the Information,

in violation of 18 U.S.C. § 666, and the wire fraud offenses charged in Counts Three

through Six, in violation of 18 U.S.C. § 1343. The property to be forfeited included

a money judgment in an amount not exceeding $767,783.00. The Notice of

Forfeiture also informed Defendant of the Government’s intention to seek forfeiture

of substitute assets in the event the directly forfeitable property was unavailable.


1
 The Information incorrectly cited to 18 U.S.C. § 982(a)(2)(A). The authority to forfeit proceeds
of the offenses charged in the Information is found at 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
28 U.S.C. 2461(c).
                                               1
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      On September 7, 2017, Defendant OLIVER L. ROBINSON, JR. entered a

formal plea of guilty to the offenses charged in Counts One through Seven of the

Information. In his plea agreement, Defendant agreed that the Court could enter an

order levying a money judgment in an amount not exceeding $767,783.00 against

him. As explained in the government’s motion, the parties have concluded that the

proper amount to be forfeited to the United States is $390,783.00.

      Based upon the guilty plea entered by Defendant OLIVER L. ROBINSON,

JR., and Defendant’s consent to the entry of an order of forfeiture in an amount not

exceeding $767,783.00, the Attorney General is now entitled to possession of

$390,783.00 pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure.

      Therefore the court ORDERS:

      1.      That OLIVER L. ROBINSON, JR., shall FORFEIT to the United

States of America the $390,783.00 in proceeds Defendant obtained, controlled, and

benefitted from as result of his offenses pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c).

      2.      That the Attorney General or his designee is hereby authorized to seize

said property forfeited herein.

      3.      That this Order of Forfeiture shall be deemed final as to Defendant

OLIVER L. ROBINSON, JR., and shall be made part of his sentence and included




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in Defendant’s Judgment in accordance with Rule 32.2(b)(4) of the Federal Rules of

Criminal Procedure.

      5.     That this Court shall retain jurisdiction in the case for the purpose of

enforcing this Order.

      6.     That the Clerk of the Court shall forward four certified copies of this

Final Order of Forfeiture to the United States Attorney’s Office, 1801 Fourth

Avenue North, Birmingham, AL 35203, Attention: Nicole Grosnoff, Assistant U.S.

Attorney, and one certified copy to the U.S. Marshals Service.



     DONE the 27th day of September, 2018.



                                          _________________________________
                                               ABDUL K. KALLON
                                         UNITED STATES DISTRICT JUDGE




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